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 1

 2                                                                           FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON

 3
                                                                    Aug 30, 2021
 4                                                                      SEAN F. MCAVOY, CLERK




 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                  NO: 4:21-CR-6028-RMP
 8                             Plaintiff,
            v.                                   PRETRIAL ORDER AND ORDER
 9                                               MEMORIALIZING COURT’S ORAL
      JOSE MENDOZA-RUELAS (1),                   RULINGS
10    OSCAR CHAVEZ-GARCIA (2);
      and JOEL CHAVEZ-DURAN (3),
11
                               Defendants.
12

13         A status hearing was held in this matter on August 27, 2021. Defendants Jose

14   Mendoza-Ruelas, Oscar Chavez-Garcia, and Joel Chavez-Duran were not present

15   but were represented by Assistant Federal Defender Alex B. Hernandez, Roger J.

16   Peven, and Criminal Justice Act Attorney Adam R. Pechtel, respectively. Assistant

17   United States Attorney Stephanie A. Van Marter was present on behalf of the

18   Government. The Court has reviewed the file, has heard from counsel, and is fully

19   informed. This Order is entered to memorialize the oral rulings of the Court.

20         Before the Court is Defendant Chavez-Garcia’s Motion to Continue Trial,

21   ECF No. 52, and Defendant Mendoza-Ruelas’s Notice of Joinder, ECF No. 55.


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 1   Defendants move for a continuance to allow additional time to investigate this case.

 2   The Government does not object to a continuance in this matter. Id.

 3         A trial date of September 27, 2021, would deprive defense counsel of

 4   adequate time to obtain and review discovery and provide effective preparation,

 5   taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7).

 6   Therefore, the Court finds that the ends of justice served by ordering a continuance

 7   of proceedings in this matter outweigh the best interests of the public and

 8   Defendants’ rights to a speedy trial, pursuant to 18 U.S.C. §3161(h)(7)(A).

 9         Accordingly, IT IS HEREBY ORDERED:

10         1.    Defendant Chavez-Garcia’s Motion to Continue Trial, ECF No. 52, is

11   GRANTED and is applicable to all Defendants.

12         2.    The current trial date of September 27, 2021, is STRICKEN and

13   RESET to November 8, 2021, at 8:45 a.m. commencing with a final pretrial

14   conference at 8:30 a.m. All hearings shall take place in Richland, Washington.

15         3.    The current pretrial conference date of September 17, 2021, is

16   STRICKEN and tentatively RESET as an in-person hearing on October 19, 2021,

17   at 9:00 a.m. in Richland courtroom 189. This hearing may be conducted via video

18   conference hearing, in which case counsel will receive connection instructions from

19   the Court prior to the hearing.

20         4.    The September 17, 2021, hearing date for Defendant Chavez-Duran’s

21   Motion to Suppress Evidence, ECF No. 51, is STRICKEN and RESET to be heard


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 1   at the pretrial conference on October 19, 2021, at 9:00 a.m. Counsel anticipating

 2   witness testimony shall file a witness list with corresponding estimates of length of

 3   testimony by October 12, 2021.

 4           5.   Counsel for defense shall notify Defendants of all hearings and ensure

 5   their attendance at court.

 6           6.   Motions to Expedite, if any, shall be filed separately and noted for

 7   hearing two (2) days from the date of filing, after informing opposing counsel of

 8   such.

 9           7.   Discovery motions, pretrial motions, and motions in limine shall be filed

10   on or before September 28, 2021; responses are due October 5, 2021; and replies

11   are due October 12, 2021. Counsel shall note their motions for hearing at the

12   pretrial conference on October 19, 2021.

13           8.   Any motion filed by any defendant in this matter, which is not limited by

14   its subject matter to the defendant filing the motion, shall also be considered to be a

15   motion filed on behalf of the co-defendants. If a co-defendant does not wish to join

16   a particular motion, he or she shall file a notice to the effect and “opt out” of the

17   filed motion. This will avoid the necessity of each defendant filing duplicate

18   motions.

19           9.   Trial briefs, requested voir dire, witness lists, jointly proposed jury

20   instructions, and a table of proposed jury instructions shall be filed and served by

21   October 29, 2021, for the Court’s consideration.


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 1           (a) The jointly proposed jury instructions should address only issues that are

 2           unique to this case and shall include instructions regarding the elements of

 3           each count, any necessary definitions, and a proposed verdict form.

 4           (b) The parties shall provide the Court electronically with a table of

 5           proposed, cited jury instructions. This table shall include:

 6              (i)     The instructions on which the parties agree;

 7              (ii)    The instructions that are disputed; and

 8              (iii)   The basis of any objection.

 9              (iv)    The jury instruction table shall be substantially in the following

10                      form:

11    Proposed by        Instruction #     9th Cir. Cite    Objection        Response to
                                                                             objection
12

13           (c) In addition to the jury instruction table, each party shall address any

14           objections they have to instructions proposed by any other party in a

15           memorandum on or before October 29, 2021. The parties shall identify the

16           specific portion of any proposed instruction to which they object supported by

17           legal authority that supports the objection. Failure to file an objection to any

18           instruction may be construed as consent to the adoption of an instruction

19           proposed by another party.

20   / / /

21   / / /


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 1         10. Pretrial Exhibit Stipulation

 2         (a) The parties shall prepare and file, by October 29, 2021, a pretrial exhibit

 3         stipulation that contains each party’s numbered list of all trial exhibits with the

 4         opposing party’s objections to each exhibit, including the basis of the

 5         objection and the offering party’s brief response. All exhibits to which there

 6         are no objections shall be deemed admitted, subject to any objections at trial

 7         that could not be raised in advance. Failure to comply with this paragraph

 8         could be deemed to constitute a waiver of all objections. Do not submit

 9         blanket or boilerplate objections to the opposing party’s exhibits. These will

10         be disregarded and overruled.

11         (b) The pretrial exhibit stipulation shall be substantially in the following

12         form:
                                 Pretrial Exhibit Stipulation
13
     Plaintiff’s/Defendants’ Exhibits
14
       Exhibit No.        Description       If Objection, State     Response to Objection
15                                               Grounds

16         (c) Exhibits shall be pre-marked with the exhibit numbers that will be used

17         at trial. Plaintiff’s trial exhibits are to be numbered 1 through 199, and

18         Defendants’ exhibits are to be numbered 200 and following.

19         (d) Objections to exhibits and witnesses shall be heard at the final pretrial

20         conference.

21


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 1        11. Trial Procedures

 2        The following procedures shall be utilized at trial:

 3        (a) The Court utilizes JERS (Jury Evidence Recording System) to allow

 4        evidence admitted for a trial to be viewed electronically via touchscreen

 5        monitor in the jury deliberation room upon the conclusion of the trial. Please

 6        note that the jury will receive a verbatim copy of the JERS exhibit list. Please

 7        carefully review and follow the instructions provided.

 8        JERS Instruction Sheet for Attorneys

 9        (b) The Court will conduct the majority of jury voir dire but allow counsel

10        15 minutes to ask additional questions or to do more in depth exploration of

11        issues raised by the Court;

12        (c) A total of 13 jurors will be selected. Plaintiff shall have 6 peremptory

13        challenges, Defendants shall have 10 peremptory challenges, and each side

14        shall have one challenge for the alternate juror. Fed. R. Crim. P. 24. The

15        challenges shall be exercised alternately;

16        (d) Regular trial hours shall be from 8:45 a.m. to 12:00 noon, and 1:15 to

17        4:30 p.m.;

18        (e) The jurors will be provided with notebooks for note-taking and a copy of

19        preliminary instructions;

20

21


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 1        (f)   Documents published to the jury by counsel shall be collected at the

 2        conclusion of trial each day or following a witness’s testimony regarding the

 3        published document;

 4        (g) A single photograph shall be taken of all witnesses following their

 5        testimony for use by the jury to correlate a witness with the testimony he or

 6        she provided. The photographs shall be maintained in a three-ring binder by

 7        the Court. The photograph will have the witness’s name on it and the date of

 8        the witness’s testimony. The photographs will be provided to the jury to assist

 9        them during deliberations. Following deliberations, the photographs will be

10        destroyed by the Court and will not be a part of the record;

11        (h) Examination of witnesses shall be limited to direct, cross, redirect and

12        recross. Fed. R. Evid. 611(a);

13        (i)   Counsel are encouraged to limit requests for sidebars by anticipating

14        legal and evidentiary issues so that the issues may be addressed before trial

15        begins each day, during the lunch hour, or after trial hours;

16        (j)   During trial, counsel are encouraged to exchange lists of the next day’s

17        witnesses and exhibits so that objections or legal issues may be anticipated

18        and resolved outside the normal trial hours;

19        (k) Counsel shall have the next witness to be called to testify available

20        outside the courtroom, to avoid delay; and

21


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 1         (l)   An attorney’s room for Plaintiff and for Defendant is available. Counsel

 2         may inquire with the on-duty Court Security Officer for access to the rooms.

 3         12. Any Defendant represented by CJA appointed counsel that will request

 4   issuance of subpoenas and payment of costs and fees for trial witnesses will file such

 5   requests no later than ten (10) days before trial, excluding weekends and holidays.

 6   Defense counsel may request, as needed, that the motion and order be filed under

 7   seal. Defense counsel shall prepare a proposed order that includes the following

 8   language:

 9         (a) That the United States Marshal shall serve the subpoenas on the

10         witnesses identified by name, address, and phone number. The subpoenas

11         shall state when the witnesses’ appearances are requested;

12         (b) That the subpoenaed individual shall contact the United States Marshal

13         in the district in which they are served so that the Marshal may make travel

14         arrangements, for those witnesses requiring such arrangements; and

15         (c) That any witness fees and per diem allowances shall be paid by the

16         Government after the witness has testified. Requests for advance payment

17         shall be directed to the United States Marshal in the district in which the

18         witness is served or the United States Marshal in the district in which the

19         witness is present to provide testimony.

20

21


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 1       Defense counsel shall contact the Case Administrator in the District Court

 2   Clerk’s office, (509) 943-8170 to obtain information on how to make lodging

 3   arrangements for those witnesses requiring lodging.

 4         13. Counsel is on notice that no CJA money is available to pay per diem

 5   expenses for indigent defendants. Should an indigent defendant require

 6   transportation to trial and/or housing and meals during the trial, defense counsel

 7   shall apply for such travel and costs no later than ten (10) days, excluding weekends

 8   and holidays, prior to the date of the trial.

 9         14. A Waiver of Speedy Trial Rights was signed by Defendant Mendoza-

10   Ruelas and Defendant Chavez-Garcia. ECF Nos. 53, 56. All time from the current

11   trial date of September 27, 2021, to the new trial date of November 8, 2021, is

12   EXCLUDED for speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(7).

13         15. All time from the filing of Defendant’s Motion to Continue on August

14   20, 2021, to the date of the hearing on August 27, 2021, is excluded for speedy trial

15   calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).

16         IT IS SO ORDERED. The District Court Clerk is directed to file this Order

17   and provide copies to counsel.

18         DATED August 30, 2021.

19                                                      s/ Rosanna Malouf Peterson
                                                     ROSANNA MALOUF PETERSON
20                                                      United States District Judge

21


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